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                                                                                2025 Jan-08 PM 04:12
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


BOBBY SINGLETON, et al.,
          Plaintiffs,

              v.
                                                    Case No. 2:21-cv-01291-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,                           THREE-JUDGE COURT
            Defendant.




EVAN MILLIGAN, et al.,
          Plaintiffs,

              v.
                                                    Case No. 2:21-cv-01530-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,                           THREE-JUDGE COURT
            Defendant.




MARCUS CASTER, et al.,
         Plaintiffs,

              v.
                                                    Case No.: 2:21-cv-1536-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,
            Defendant.




Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:
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                                     ORDER

      These congressional redistricting cases are before the Court on unopposed

motions by the defendants for leave to file corrected exhibits and an amended exhibit

list, and to strike two originally filed exhibits. Singleton Doc. 273; Milligan Doc.

422; Caster Doc. 326. For good cause, these motions are GRANTED, and the Court

ORDERS the following:

      1.     The defendants shall file their six corrected exhibits—DX010, DX027,

DX051, DX054, DX161(b), and DX263—along with an amended exhibit list on or

before JANUARY 10, 2025.

      2.     The defendants shall send courtesy copies of their corrected materials

to the members of the Court as directed by the Court’s December 5, 2024 Order,

Milligan Doc. 392, as soon as practicable after the corrected exhibits and amended

exhibit list are filed, but in any event for a confirmed delivery on or before

JANUARY 15, 2025.

      3.     DX051 and DX054, Milligan Docs. 409-51 and 409-54, are

STRICKEN.




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